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  16                        SOUTHERN DISTRICT OF CALIFORNIA
  17
       Al Otro Lado, Inc., et al.,                  Case No.: 17-cv-02366-BAS-KSC
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  19
                          Plaintiffs,               PLAINTIFFS’ MOTION FOR
                                                    PRELIMINARY INJUNCTION
  20            v.                                  PROHIBITING GOVERNMENT
                                                    FROM APPLYING ASYLUM BAN
  21   Kevin K. McAleenan,1 et al.,                 TO PROVISIONAL CLASS
                                                    MEMBERS AND NOTICE
  22                      Defendants.               THEREOF
  23
                                                    Hearing Date: November 4, 2019
  24
                                                    NO ORAL ARGUMENT UNLESS
  25                                                REQUESTED BY THE COURT
  26

  27   1
           Acting Secretary McAleenan is automatically substituted for former Secretary
  28   Nielsen pursuant to Fed. R. Civ. P. 25(d).
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                                                    PLAINTIFFS’ MOT. AND NOTICE OF MOT.
                                                           FOR PROVISIONAL CLASS CERT.
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   1         PLEASE TAKE NOTICE that on Monday, November 4, 2019, at a time the
   2   Court deems proper, or as soon thereafter as the parties may be heard, Plaintiffs will
   3   and hereby do move for a preliminary injunction prohibiting the Government from
   4   applying the interim final rule, “Asylum Eligibility and Procedural Modifications,”
   5   84 Fed. Reg. 33,829 (July 16, 2019) (“Asylum Ban”), codified at 8 C.F.R. §
   6   208.13(c)(4), to all non-Mexican noncitizens who were denied access to the U.S.
   7   asylum process before July 16, 2019 as a result of the Government’s metering policy
   8   and continue to seek access to the U.S. asylum process. This motion is based on the
   9   attached memorandum of points and authorities and any arguments that may be
  10   presented orally at a hearing on this motion.
  11

  12   Dated: September 26, 2019                    MAYER BROWN LLP
                                                      Matthew H. Marmolejo
  13                                                  Ori Lev
                                                      Stephen S. Medlock
  14

  15                                                SOUTHERN POVERTY LAW CENTER
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                                                    CENTER FOR CONSTITUTIONAL
  19                                                RIGHTS
  20                                                   Baher Azmy
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  21                                                   Angelo Guisado
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  23                                                COUNCIL
                                                      Karolina Walters
  24

  25                                                By: /s/ Stephen M. Medlock
  26                                                     Stephen M. Medlock

  27                                                Attorneys for Plaintiffs
  28
                                                1         PLAINTIFFS’ MOT. AND NOTICE OF MOT.
                                                                 FOR PROVISIONAL CLASS CERT.
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   1                             CERTIFICATE OF SERVICE
   2         I certify that on September 26, 2019, I served a copy of the foregoing document
   3   by filing it document with the Clerk of Court through the CM/ECF system, which
   4   will provide electronic notice and an electronic link to this document to all attorneys
   5   of record.
   6                                                        /s/ Stephen M. Medlock
   7
                                                            Counsel for Plaintiffs
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                                                2        PLAINTIFFS’ MOT. AND NOTICE OF MOT.
                                                                FOR PROVISIONAL CLASS CERT.
